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                                                                               Acknowledged
                            UNITED STATES DISTRICT COURT                             TWP
                            SOUTHERN DISTRICT OF INDIANA                           July 5, 2013
                                INDIANAPOLIS DIVISION


SHARON SCHOENUNG,                          )
                                           )
             Plaintiff,                    )
                                           )
             v.                            )       No. 1:13-cv-789 TWP-DML
                                           )
INDIANA BUREAU OF MOTOR                    )
VEHICLES;                                  )
COMMISSIONER, Indiana Bureau of            )
Motor Vehicles, in his official capacity;  )
JOHN DOES, in their individual capacities, )
                                           )
             Defendants.                   )

                                Notice of Voluntary Dismissal

       Plaintiff, by her counsel, files this notice of voluntary dismissal pursuant to Rule

41(a)(1)(A)(i).

       WHEREFORE, plaintiff files her notice of voluntary dismissal.



                                                   /s/Kenneth J. Falk
                                                   Kenneth J. Falk
                                                   No. 6777-49
                                                   ACLU of Indiana
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                                                   Indianapolis, IN 46202
                                                   317/635-4059 ext. 104
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                                                   kfalk@aclu-in.org

                                                   Attorney for Plaintiff

                                    Certificate of Service

        I hereby certify that on this 3d day of July, 2013, a copy of the foregoing was filed
electronically with the Clerk of this Court. Notice of this filing will be sent to the following



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parties by operation of the Court's electronic filing system and the parties may access this filing
through the Court's system.

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                                                            /s/Kenneth J. Falk
                                                            Kenneth J. Falk
                                                            Attorney at Law




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